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United States District Court for the Northern FILE
District of Ohio ILED

DEC 20 2024

Sarah Buntura

CLERK, U.S, DISTRICT COURT

NORTHERN DISTRICT OF OHIO

CLEVELAND

Plaintiff,
VS. CASE NO, 1:24-cv-1811
Judge J. Philip Calabrese
Ford Motor Company, et
al.
Defendant.
NOTICE OF APPEAL

Notice is hereby given that Sarah Buntura

(here name all parties taking the appeal)
hereby appeal to the United States Court of Appeals for the Sixth Circuit from

The final judgment dismissing Plaintiffs case and denying the motion for reconsideration
(the final judgment) (from an order (describing it))

entered in this action on the 16th__day of December, 2024 |

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Attorney for Pro Se

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